          Case 1:19-vv-01670-UNJ Document 27 Filed 06/10/21 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1670V
                                        UNPUBLISHED


    ASHLEY WIRGES,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: May 10, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

      On October 29, 2019, Ashley Wirges filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine intramuscularly
administered in her left shoulder on October 19, 2018. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On May 10, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent states that Petitioner “has satisfied the criteria set forth in the

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:19-vv-01670-UNJ Document 27 Filed 06/10/21 Page 2 of 2




Vaccine Injury Table (Table) and the Qualifications and Aids to Interpretation, which
affords petitioner the presumption of causation because petitioner had no history of pain,
inflammation, or dysfunction in her left shoulder; her pain occurred within 48 hours of
receipt of an intramuscular vaccination; her pain and reduced range of motion were
limited to the shoulder in which the vaccine was administered; and no other condition or
abnormality was identified to explain her symptoms.” Id. at 3-4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




                                            2
